                           NUMBER 13-16-00112-CR

                           COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                    CORPUS CHRISTI - EDINBURG
____________________________________________________________

DOUGLAS WAYNE BRANDON,                                                    Appellant,

                                          v.

THE STATE OF TEXAS,                                 Appellee.
____________________________________________________________

              On appeal from the 36th District Court
                   of Aransas County, Texas.
____________________________________________________________

                         MEMORANDUM OPINION

            Before Justices Rodriguez, Benavides, and Perkes
                    Memorandum Opinion Per Curiam

      Counsel for appellant has filed a motion to dismiss appeal.         In a signed

attachment, appellant states that he no longer wishes to pursue his appeal. We find the

motion and attachment together meet the requirement of Texas Rule of Appellate

Procedure 42.2(a) that appellant and his attorney must sign a written motion to dismiss

the appeal. See TEX. R. APP. P. 42.2(a). Without passing on the merits of the case, we

grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and
dismiss the appeal. Having dismissed the appeal at appellant's request, no motion for

rehearing will be entertained, and our mandate will issue forthwith. Any pending motions

are dismissed as moot.



                                                            PER CURIAM

Do not publish.
See TEX. R. APP. P. 47.2(b).

Delivered and filed the
2nd day of September, 2016.




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